        Case
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 1                           UNITED STATES DISTRICT COURT
 2
                                    DISTRICT OF NEVADA
 3
 4                                            ***
 5
     UNITED STATES OF AMERICA,        )
 6                                    )
                     Plaintiff,       )             2:16-cr-00046-GMN-PAL
 7                                    )
     v.                               )
 8                                    )
 9   PETER SANTILLI,                  )
                                      )
10                   Defendant.       )
     ________________________________)
11
12
       ORDER DIRECTING CORRECTIONS CORPORATION OF AMERICA TO ALLOW
13
      THE FOLLOWING LISTED DETAINEES TO CONDUCT A GROUP MEETING WITH
14
     THEIR RESPECTIVE COUNSEL PRESENT ON OCTOBER 7, 2016 FROM 1PM-5PM
15
16
17   IT IS HEREBY ORDERED: That Corrections Corporation of America allow the following
18
     detainees to be produced for a group meeting with their respective counsel present on
19
     October 7, 2016 from 1pm-5pm:
20
                  1.     Peter Santilli
21                2.     Cliven Bundy
22                3.     Melvin Bundy
                  4.     Ryan Payne
23                5.     David Bundy
                  6.     Brian Cavalier
24                7.     Eric J. Parker
25                8.     Richard Lovelien
                  9.     Steven Stewart
26                10.    Todd. C. Engel
                  11.    Gregory Burleson
27                12.    Joseph D. O’Shaughnessy
                  13.    Micah McGuire
28
         Case
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 1               14.   Jason D. Woods
                 15.   O. Scott Drexler
 2
 3   DATED this 28th day of September, 2016

 4
                                          ____________________________________
 5                                        MAGISTRATE JUDGE
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